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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


    THE GEORGE WASHINGTON                          :
    UNIVERSITY,                                    :
                                                   :
    1918 F Street NW                               :
    Washington, DC 20052                           :
                                                   :       Case No. 1:21-cv-3006
                   Plaintiff,                      :
                                                   :       Judge:
          v.                                       :
                                                   :
    FACTORY MUTUAL INSURANCE                       :
    COMPANY,                                       :
                                                   :
    270 Central Avenue                             :
    Johnston, RI 02919                             :
                                                   :
                   Defendant.                      :


                                      NOTICE OF REMOVAL

         PLEASE TAKE NOTICE that Defendant Factory Mutual Insurance Company (“Factory

Mutual”) hereby removes to this Court the state court action described below pursuant to 28 U.S.C.

§§ 1332, 1441, and 1446.

         1.       On October 22, 2021, Plaintiff The George Washington University (the

“University”) filed a complaint for breach of contract and declaratory relief in the Superior Court

of the District of Columbia styled as The George Washington University v. Factory Mutual

Insurance Co., Case No. 2021 CA 003837 B (the “Complaint” or “Compl.”).1 The Complaint

seeks insurance coverage from Factory Mutual for loss of income resulting from the COVID-19

virus. Compl. at ¶7.



1
 In accordance with 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders in the state court
action is attached hereto collectively as Exhibit 1.
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       2.       Plaintiff served Factory Mutual with summons and Complaint on October 26, 2021.

See Ex. 1.

I.     JURISDICTION IS BASED ON DIVERSITY OF CITIZENSHIP, 28 U.S.C. §§ 1332,
       1441(a)

       3.       Section 1441(a) provides that “[e]xcept as otherwise expressly provided by Act of

Congress, any civil action brought in a State court of which the district courts of the United States

have original jurisdiction, may be removed by the defendant or the defendants, to the district court

of the United States for the district and division embracing the place where such action is pending.”

28 U.S.C. § 1441(a).

       4.       This Court has original jurisdiction over this civil action because there is complete

diversity of citizenship between the parties both as of the time of filing of this action and as of the

date of its removal and the amount in controversy exceeds the sum or value of $75,000, exclusive

of interest and costs. 28 U.S.C. § 1332(a); see also 28 U.S.C. § 1446.

       5.       Venue in this Court is proper under 28 U.S.C. § 1441(a) because this action is being

removed from the state court in which it was originally filed, the Superior Court of the District of

Columbia, to the district court “embracing the place where such action is pending.” 28 U.S.C. §

1441(a).

       A.       Plaintiff And Defendant Are Completely Diverse

       6.       A corporation is “deemed to be a citizen of the state in which it is incorporated and

the state where it maintains its principal place of business.” Heritage Educ. Tr. v. Katz, 287 F.

Supp. 2d 34, 36 (D.D.C. 2003) (emphasis in original); see also 28 U.S.C. § 1332(c)(1).

       7.       Plaintiff University is incorporated in the District of Columbia and its principal

place of business is in the District of Columbia. Compl. ¶19. Therefore, the University is a citizen

of the District of Columbia for diversity purposes.


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        8.      Defendant Factory Mutual is a corporation organized under the laws of Rhode

Island and its principal place of business is in Rhode Island. Compl. ¶21. Therefore, Factory

Mutual is a citizen of Rhode Island for diversity purposes.

        9.      Complete diversity exists between the parties.

        B.      The Amount In Controversy Exceeds $75,000

        10.     A defendant’s notice of removal need only include a plausible allegation that the

amount in controversy exceeds $75,000. Dart Cherokee Basin Operating Co., LLC v. Owens, 135

S. Ct. 547, 554 (2014). Pursuant to 28 U.S.C. § 1446(c)(2), “the sum demanded in good faith in

the initial pleading shall be deemed to be the amount in controversy....”

        11.     Plaintiff is allegedly an institution of higher education providing services to

students at residential campuses in and around Washington, D.C. Compl. ¶1. In the Complaint,

the University alleges that it suffered “hundreds of millions” of dollars in losses as a result of the

COVID-19 virus, id. at ¶113, and that the insurance policy sold by Factory Mutual provide several

types of coverage that insure against such losses. Id. at ¶125.

        12.     Plaintiff demands compensatory and consequential damages, interest, attorneys’

fees and costs, and exemplary and punitive damages for the alleged breaches and non-payment of

these losses. Id. at Prayer for Relief. Those amounts sought exceed $75,000.

        13.     Accordingly, because Plaintiff’s allegations demonstrate that it seeks more than

$75,000 of insurance coverage under the policy issued by Factory Mutual, the jurisdictional

threshold is satisfied.

II.     PROCEDURAL REQUIREMENTS

        14.     Removal is timely pursuant to 28 U.S.C. § 1446(b) because Factory Mutual filed

this Notice of Removal within 30 days of being served with process.



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        15.     Pursuant to 28 U.S.C. § 1446(d), Factory Mutual will promptly serve a copy of this

Notice of Removal on counsel for the University and will file a copy of this Notice of Removal

with the clerk of the Superior Court of the District of Columbia.

III.    RESERVATION OF DEFENSES

        16.     As of the filing of this Notice of Removal, no further proceedings have been had in

the state court action.

        17.     Nothing in this Notice of Removal shall be interpreted as a relinquishment of

Defendant’s right to assert any defense or affirmative matter, including to bring a motion pursuant

to Federal Rule of Civil Procedure 12.

        18.     Factory Mutual reserves the right to amend or supplement this Notice of Removal.

        WHEREFORE, Factory Mutual removes this action, pending in the Superior Court of the

District of Columbia, to this Court pursuant to 28 U.S.C. §§ 1332, 1441, and 1446.




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DATED: November 12, 2021


                                    /s/ Abram J. Ellis
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                                    Insurance Company




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 12, 2021, I caused to be served by first class

mail, postage prepaid, a true and correct copy of the foregoing to the following:

       Matthew J. Schlesinger
       Attorney for Plaintiff
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                                                     /s/ Abram J. Ellis
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